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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHO
                                   EASTERN DIVISION


 UNITED STATES OF AMERICA,                      )       Case No. 5:05cr131-50
                                                )
                Plaintiff,                      )       Judge Lesley Wells
                                                )
        vs.                                     )       REPORT AND RECOMMENDATION
                                                )            OF MAGISTRATE JUDGE
 SETH AMODIO                                    )
                                                )
                Defendant.                      )       Magistrate Judge James S. Gallas
                                                )


        Pursuant to General Order 99-49, this matter having been referred to United States

 Magistrate Judge James S. Gallas for purposes for receiving, on consent of the parties, the

 defendant’s offer of a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11,

 causing a verbatim record of the proceedings to be prepared, referring the matter, if appropriate,

 for presentence investigation, and submitting a Magistrate Judge’s Report and Recommendation

 stating whether the plea should be accepted and a finding of guilty entered, the following, along

 with the transcript or other record of the proceedings submitted herewith, constitutes the

 Magistrate Judge’s Report and Recommendation concerning the plea of guilty proffered by the

 defendant.

        1.      On June 27, 2006 the defendant, accompanied by counsel, proffered a plea of

                guilty to counts one and eleven.

        2.      Prior to such proffer, the defendant was examined as to his competency, advised

                of the charge and consequences of conviction, informed that the Court will be

                required to give consideration to the Federal Sentencing Guidelines and of the

                possibility of a departure from the Guidelines, notified of his rights, advised that
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                he was waiving all his rights except the right to counsel, and, if such were the

                case, his right to appeal, and otherwise provided with the information prescribed

                in Fed. R. Crim. P. 11.



        3.      The parties and counsel informed the court about any plea agreement between

                the parties, the undersigned was advised that, aside from such agreement as

                described or submitted to the court, no other commitments or promises have

                been made by any party, and no other agreements, written or unwritten, have

                been made between the parties.



        4.      The undersigned questioned the defendant under oath about the knowing,

                intelligent, and voluntary nature of the plea of guilty, and finds that the

                defendant’s plea was offered knowingly, intelligently, and voluntarily.



        5.      The parties provided the undersigned with sufficient information about the

                charged offense(s) and the defendant’s conduct to establish a factual basis for

                the plea.



        In light of the foregoing and the record submitted herewith, the undersigned finds that

 the defendant’s plea was knowing, intelligent, and voluntary, and that all requirements imposed

 by the United States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the
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 undersigned recommends that the plea of guilty be accepted and a finding of guilty be entered

 by the Court.

                                                           s/James S. Gallas
                                                       United States Magistrate Judge



        ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk

 of Court within ten (10) days of receipt of this notice. Failure to file objections within the

 specified time WAIVES the right to appeal the Magistrate Judge’s recommendation. See,

 United States v. Walters, 638 F.2d 947 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140 (1985).



 Dated: June 27, 2006
